                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN


 RAQUEL HUNTER,

                 Plaintiff,

 v.                                                             Case No: 17-CV-0401

 CENTENE MANAGEMENT COMPANY, LLC,

                 Defendant.


                                STIPULATION FOR DISMISSAL



       The parties stipulate through their counsel to the entry of an Order by the Court dismissing

all claims that were or could have been asserted in this action, in their entirety, on the merits, with

prejudice, and without further costs or attorney’s fees to any party.


 Dated this 8th day of March, 2018.                  Dated this 8th day of March, 2018.

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 s/ Jason Canfield                                   s/ Saul C. Glazer
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